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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

SOFTWARE AG USA, INC.
11700 Plaza America Drive
Reston, VA 20190,
                                                      Civil Action No. ________
                  Plaintiff,

       v.

L. FRANCIS CISSNA, Director
U.S. Citizenship and Immigration Services
20 Massachusetts Avenue, NW
Washington, DC 20529

KIRSTJEN M. NIELSEN, Secretary
U.S. Department of Homeland Security
650 Massachusetts Avenue, NW
Washington, DC 20001

LAURA B. ZUCHOWSKI, Director
U.S. Citizenship and Immigration Services
Vermont Service Center
75 Lower Welden Street
St. Albans, VT 05479,

                  Defendant.


                                        COMPLAINT


                                         Introduction

       1.     Plaintiff Software AG USA, Inc. (“Software AG USA”) challenges the unlawful

denial of its nonimmigrant petition (EAC-18-136-52919) seeking approval of H-1B classification

on behalf of Ms. Vidya Narayan Moily under 8 U.S.C. § 1101(a)(15)(H).

       2.     The ultimate corporate parent of Software AG USA is Software AG, a stock

corporation organized under the laws of the Federal Republic of Germany and listed on the

Frankfurt Stock Exchange since April 26, 1999. The principal activities of Software AG and its
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subsidiaries include providing customized technology solutions that support digital

transformation. Software AG serves as a technology service provider for companies in every

industry, and further supports its customers with custom consulting services and comprehensive

Information Technology expertise.

       3.      Plaintiff Software AG USA supports the company’s domestic customers in their

digital transformation goals by providing the first end-to-end digital business platform that

includes integration, process management, adaptive application development, real-time analytics,

and enterprise architecture management as its core building blocks.

       4.      As described in its initial petition to U.S. Citizenship and Immigration Services

(“USCIS”), Software AG USA seeks to continue to employ Ms. Moily in the role of Senior GCS

(“Global Consulting Software”) Consultant to “be responsible for developing, implementing, and

delivering technical solutions to solve our clients’ most pressing business process challenges.”

Classified in the Computer Systems Analyst occupation according to the U.S. Department of

Labor taxonomy, the role’s minimum requirements included “attainment of a bachelor’s degree,

or equivalent, in Computer Science, Information Systems, or a related quantitative or analytical

field, such as engineering.” See Ex. 1 (April 6, 2018, Employer Support Letter).

       5.      On December 14, 2018, USCIS denied the H-1B petition, concluding that “on the

basis of the position’s educational requirement alone, you have not established that the position

is in a specialty occupation as defined above.” See Ex. 3 (December 14, 2018 Notice from

USCIS). The denial further states that “the evidence of record does not establish that the offered

position as described meets any of the four criteria specified in 8 CFR, section

214.2(h)(4)(iii)(A).” Id.

       6.      USCIS’ denial of the petition runs counter to, and fundamentally disregards,




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substantial evidence in the record. The decision is arbitrary and capricious and an abuse of its

discretion, and not in accordance with the law.

       7.      Software AG USA seeks an order overturning the denial and requiring USCIS to

adjudicate and approve its H-1B nonimmigrant petition.

                                          Jurisdiction and Venue

       8.      This is a civil action brought under 5 U.S.C. §§ 702, 704 of the Administrative

Procedure Act (“APA”). This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (federal

question subject matter jurisdiction) and 28 U.S.C. § 1361. This Court also has authority to grant

declaratory relief under 28 U.S.C. §§ 2201–02, and injunctive relief under 5 U.S.C. § 702, and

28 U.S.C. § 1361. The United States waives sovereign immunity under 5 U.S.C. § 702.

       9.      Venue is proper under 28 U.S.C. § 1391(e)(1)(A) as a civil action brought against

officers and agencies of the United States in their official capacities in the district where the

Defendants reside.

                                               Parties

       10.     Plaintiff Software AG USA is a Delaware corporation headquartered in Reston,

VA.

       11.     Defendant USCIS is a component of the U.S. Department of Homeland Security

(“DHS”), 6 U.S.C. § 271, and an “agency” within the meaning of the APA, 5 U.S.C. § 551(1).

USCIS adjudicates petitions for immigration benefits, and denied the nonimmigrant petition

Software AG USA filed on behalf of Ms. Moily.

       12.     Defendant L. Francis Cissna is the Director of USCIS. He has ultimate

responsibility for the denial of Software AG USA’s petition and is sued in his official capacity.

       13.     Defendant Kirstjen M. Nielsen is the Secretary of DHS, and is sued in her official




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capacity.

        14.        Defendant Laura B. Zuchowski is the Director of the Vermont Service Center,

and is sued in her official capacity. She leads the specific office within USCIS that adjudicated

the petition.

                                            Legal Framework

        15.        The Immigration and Nationality Act (“INA”) provides H-1B classification for

foreign nationals, in pertinent part, “coming temporarily to the United States to perform

services… in a specialty occupation.” 8 U.S.C. § 1101(a)(15)(H).

        16.        A specialty occupation is a position that requires the theoretical and practical

application of a body of highly specialized knowledge, and attainment of a bachelor’s or higher

degree in the specific specialty (or its equivalent) as a minimum for entry into the occupation. 8

U.S.C. § 1184(i)(1).

        17.        DHS regulations define specialty occupation to mean “an occupation which

requires theoretical and practical application of a body of highly specialized knowledge in fields

of human endeavor including, but not limited to, architecture, engineering, mathematics, physical

sciences, social sciences, medicine and health, education, business specialties, accounting, law,

theology, and the arts, and which requires the attainment of a bachelor's degree or higher in a

specific specialty, or its equivalent, as a minimum for entry into the occupation in the United

States.” 8 C.F.R. § 214.2(h)(4)(ii).

        18.        Implementing regulations at 8 C.F.R. § 214.2(h)(4)(iii)(A) further provide that a

position will satisfy the statutory definition of specialty occupation if it meets one of the

following criteria:

                  A baccalaureate or higher degree or equivalent is normally the minimum




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                  requirement for entry into the particular position;

                 Degree requirement is common in industry in parallel positions among similar

                  organizations or the particular position is so complex or unique that a degree is

                  required;

                 Employer normally requires a degree or equivalent; or

                 Nature of specific duties is so specialized and complex that knowledge required to

                  perform the duties is usually associated with attainment of degree.

       19.        To perform services in a specialty occupation, a beneficiary must, in pertinent

part, hold a U.S. bachelor’s or higher degree from an accredited college or university (or a

foreign degree determined to be equivalent) as required by the specialty occupation. 8 C.F.R. §

214.2(h)(4)(iii)(C).

                                          Factual Allegations

       20.        USCIS accepted an H-1B nonimmigrant petition filed by Plaintiff on behalf of

beneficiary Ms. Vidya Narayan Moily on April 13, 2018. This was the fifth H-1B petition

Plaintiff filed on behalf of Ms. Moily for the same Senior Consultant role. USCIS approved all

previous petitions (EAC-14-081-51923, EAC-14-129-51617, EAC-15-050-51030, EAC-16-245-

52116).

       21.        Ms. Moily served in the position of Senior Consultant with Software AG USA

between March 2014 and the denial of the instant petition on December 14, 2018.

       22.        Plaintiff filed Form I-140, Immigrant Petition for Alien Worker, on behalf of Ms.

Moily on December 12, 2016 following a test of the U.S. labor market reflected in the

underlying ETA Form 9089, Application for Permanent Employment Certification. Certified by

the U.S. Department of Labor on September 6, 2016, this application reflected a permanent job




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opportunity in the same Senior GCS Consultant role described by the instant H-1B petition, and

included minimum educational requirements of at least a bachelor’s degree in Computer Science,

Computer Information Systems, or a related field. See Ex. 4 (Certified ETA Form 9089). USCIS

approved the I-140 on February 12, 2018. See Ex. 5 (I-797 Approval Notice).

       23.     Ms. Moily earned a Bachelor of Science degree in Computer Science in February

2008 from the University of Mumbai. She also had more than six years of related industry

experience at the time of filing, and this combination of education and experience was evaluated

by a professional evaluation firm and equated to a bachelor’s degree in Computer Information

Systems from a regionally accredited college or university in the United States.

       24.     USCIS issued a Request for Evidence (“RFE”) on September 17, 2018, and called

for additional evidence that the position offered to the beneficiary meets the requirements for a

specialty occupation, that Ms. Moily would continue to be an employee of Software AG USA,

and that her work was supported by an itinerary of services. See Ex. 2 (September 17, 2018

Notice from USCIS).

       25.     Plaintiff submitted its timely response on December 10, 2018, and along with a

range of documentary evidence attached a support letter from Rajesh Gosrani, Global Consulting

Services Manager with Software AG USA. This letter provided more detailed explanations of the

beneficiary’s proposed day-to-day job duties and the company’s minimum requirements for the

role, and tied these requirements to both the Computer Systems Analyst occupation generally

and the company’s specific needs for this particular role.

       26.     USCIS ultimately denied Plaintiff’s petition on December 14, 2018. Focusing

entirely on the position’s stated minimum requirements as described in the initial support letter,

the denial concludes that Plaintiff did not establish the proffered position’s eligibility under any




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of the four “specialty occupation” factors enumerated by regulation at 8 C.F.R. §

214.2(h)(4)(iii)(A).

       27.     Despite a detailed response from the Plaintiff supported by a variety of supporting

documentation, the denial manages only to provide a bullet point list of the evidence in the

record before reiterating the challenge it outlined in the RFE as its basis for denial:



       You indicated that the minimum entry requirements for the offered position are a

       wide variety of disparate fields of study, as the offered position requires a

       “bachelor’s degree, or its equivalent in Computer Science, Information Systems,

       or a related quantitative analytical field, such as engineering.” In addition you

       have indicated that one of the minimum entry requirements for the offered

       position is a general and non-specific degree in “Engineering” without further

       specialization or explanation. (Ex. 3 at 3.)



       28.     The denial does not reference or in any meaningful way analyze the substance of

the additional evidence provided in response to the Service’s RFE. Instead, the denial simply

cuts and pastes cherry-picked snippets from Petitioner’s submission for inclusion in a template

denial notice that, through inclusion of lengthy boilerplate language, attempts to suggest a

thorough analysis when in fact there was no meaningful review or adjudication whatsoever.

Accordingly, the entirety of the denial’s rationale is “… you have not sufficiently explained how

your position requirements constitute a ‘body of highly specialized knowledge’ that is directly

related to the duties and responsibilities of the offered position and/or how each of the fields of

study under this generalized heading would related to the duties and responsibilities of the




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offered position.” (Ex 3 at 4).

       29.       This denial left Ms. Moily without legal immigration status in the United States

following more than seven years as an H-1B nonimmigrant based on four previously-approved

H-1B petitions for the same role and with the same employer.

       30.       Unless the Court vacates the denial of Software AG USA’s petition, the company

will lose the services of a valuable employee in the United States.

                                             Exhaustion

       31.       The December 14, 2018, denial by USCIS of Software AG USA’s petition

constitutes a final agency action under the APA, 5 U.S.C. § 704. Neither the INA nor DHS

regulations at 8 C.F.R. § 103.3(a) require administrative appeal of the denial.

       32.       Under 5 U.S.C. §§ 702 and 704, Software AG USA has suffered a “legal wrong”

and has been “adversely affected or aggrieved” by agency action for which there is no adequate

remedy at law.



                                        CAUSE OF ACTION

                                              COUNT I

                    Administrative Procedure Act Violation (5 U.S.C. § 706)

       33.       Plaintiff incorporates the allegations set forth in the preceding paragraphs.

       34.       Defendants’ denial of the Plaintiff’s nonimmigrant petition constitutes final

agency action that is arbitrary, capricious, an abuse of discretion, and not in accordance with the

law.

       35.       No rational connection exists between the conclusions asserted by USCIS in its

denial and the facts in the record.




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                                    REQUEST FOR RELIEF

The Plaintiff requests that this Court grant the following relief:

        1.     Declare the Defendants’ denial of Software AG USA’s H-1B petition is unlawful.

        2.     Vacate the denial and order Defendants to promptly approve the nonimmigrant

petition.

        3.     Award Plaintiff its costs in this action; and

        4.     Grant any other relief that this Court may deem proper.


Dated: January 11, 2019                        MORGAN, LEWIS & BOCKIUS LLP



                                               By:/s/ Eric S. Bord
                                                   Eric S. Bord (DC Bar No. 429350)
                                                   eric.bord@morganlewis.com
                                                   Daniel D. Schaeffer (DC Bar No. 888208991)
                                                   daniel.schaeffer@morganlewis.com

                                               1111 Pennsylvania Avenue, NW
                                               Washington, DC 20004
                                               Telephone:     +1.202.739.3000
                                               Facsimile:     +1.202.739.3001

                                               Attorneys for Plaintiff




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